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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

    AMERICAN SOCIETY FOR TESTING
    AND MATERIALS d/b/a ASTM
    INTERNATIONAL;

    NATIONAL FIRE PROTECTION
    ASSOCIATION, INC.; and

    AMERICAN SOCIETY OF HEATING,
                                                   Case No. 1:13-cv-01215-TSC
    REFRIGERATING, AND AIR
    CONDITIONING ENGINEERS,

                        Plaintiffs/
                        Counter-Defendants,

    v.

    PUBLIC.RESOURCE.ORG, INC.,

                        Defendant/
                        Counter-Plaintiff.


     PLAINTIFFS’ THIRD SUPPLEMENTAL STATEMENT OF MATERIAL FACTS IN
         SUPPORT OF THEIR SECOND MOTION FOR SUMMARY JUDGMENT


         Pursuant to Local Rule 7(h), Plaintiffs American Society for Testing and Materials

(“ASTM”), National Fire Protection Association, Inc. (“NFPA”) and American Society of

Heating, Refrigerating, and Air Conditioning Engineers (“ASHRAE”) (collectively, “Plaintiffs”)

hereby submit, in support of their Second Motion for Summary Judgment, this Third Supplemental

Statement of Material Facts1 as to which there is no genuine issue to be tried.




1
  Plaintiffs filed an original Statement of Material Facts (Dkt. 118-2) (“SMF”), Supplemental
Statement of Material Facts (Dkt. 155-1), and a Second Supplemental Statement of Material Facts
(Dkt. 201). The facts contained in this Third Supplemental Statement of Material Facts are
additional to the already-developed record. Plaintiffs also have relied on and cited to their prior
statements of material facts in support of their Second Motion for Summary Judgment.
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       1.      PRO stated that Exhibits 89 to 91 to the Supplemental Declaration of Matthew

Becker “show[] the citation and text of at least one federal incorporation into the C.F.R. of each

complete standard.” Opp. 8; see also Supplemental Declaration of Matthew Becker, previously

filed at Dkt. 204-5 (“Supp. Becker Decl.”). As explained below, this is not accurate:

       2.      Exhibit 89 to the Supplemental Becker Declaration is titled “ASHRAE Editions

Incorporated by Reference” and includes a chart listing each of the ASHRAE standards at issue,

with a column for, inter alia, “C.F.R. Reference. Supp. Becker Decl. ¶ 57, Ex. 89. Though PRO

posted ASHRAE’s standards in 2012, for three of the four identified works on Exhibit 89, PRO

lists a C.F.R. reference from 2013 or later. See id.

       3.      Additionally, PRO’s chart does not actually demonstrate that the cited C.F.R.

reference has any relation to large parts of the referenced works. Plaintiffs have prepared a chart

that demonstrates this. See Wise Decl. II ¶ 14, Ex. 186. In short, the C.F.R. references that PRO

provides in its chart relate to use of government funds to build new structures within the United

States, yet the ASHRAE standards contain numerous non-prescriptive elements, including entire

appendices of information related to how best to comply with the standards in foreign territories.

Id. Plainly, those appendices (and other non-prescriptive elements in the ASHRAE standards) do

not relate to the C.F.R. sections cited by PRO. Additionally, one of the ASHRAE works in

question is a handbook that contains guidance related to compliance with ASHRAE standards,

which was IBR’d to aid in compliance with other ASHRAE standards referenced in the same

portions of the C.F.R. That handbook contains text pertaining to multiple ASHRAE standards,

including those not IBR’d in that portion of the C.F.R., thus large portions of the handbook do not

relate to the cited C.F.R. cite PRO provides. Id.




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        4.         Exhibit 90 to the Supplemental Becker Declaration is titled “ASTM Editions

Incorporated by Reference” and includes a chart listing each of the ASTM standards at issue, with

columns for, inter alia, “C.F.R. Reference.” Supp. Becker Decl. ¶ 57, Ex. 90. For more than 20%

of the ASTM Works (41 standards), Exhibit 90 identifies a citation to a provision of the C.F.R.

that was not promulgated until after PRO posted the standards in 2012. Wise Decl. II ¶ 4, Ex. 176.

        5.         For approximately 30% of the ASTM Works (56 standards), Exhibit 90 identifies

a citation to a provision of the C.F.R. that had been amended to eliminate reference to the ASTM

Work at issue or to incorporate a different ASTM standard prior to the time PRO posted ASTM’s

Works in 2012. Id.

        6.         Exhibit 91 to the Supplemental Becker Declaration is titled “NFPA Editions

Incorporated by Reference” and includes a chart listing each of the NFPA standards at issue, with

columns for, inter alia, “C.F.R. Reference.” Supp. Becker Decl. ¶ 58, Ex. 91. Plaintiffs have

provided a chart that responds to each of the C.F.R. references that PRO identifies. See Wise Decl.

II ¶ 3, Ex. 175.

        7.         As shown in Plaintiffs’ chart, Exhibit 91 does not contain any citation to a federal

regulation that incorporates by reference four of the NFPA standards at issue. See id. (NFPA 1

(2003), NFPA 1 (2006), NFPA 54 (2006), NFPA 70 (2008)).

        8.         For the remaining 19 NFPA standards at issue, the federal regulations PRO

identifies have no relevance to many portions of the standards. See id. For example, PRO’s

Exhibit 91 identifies a regulation providing that “fixed extinguishing systems” must comply with

NFPA 11 (2005), but that standard includes provisions related to fixed, semifixed, and portable

systems—the standard’s provisions related to semifixed and portable systems are not necessary to

complying with the regulation PRO identifies.            Id. at 2; see also generally Supplemental




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Declaration of James Pauley, previously filed at Dkt. 198-50, (“Supp. Pauley Decl.”) Ex. D (Dkt.

199, sealed). Similarly, Exhibit 91 identifies a regulation that requires veterans’ cemeteries to

meet the architectural and structural requirements of NFPA 101 (2003); that regulation does not

require compliance with the standard’s provisions related to one- and two-family dwellings, not to

mention day-care occupancies, educational occupancies, industrial occupancies (or numerous

others). Wise Decl. II ¶ 3, Ex. 175 at 19; see also generally Supp. Pauley Decl. Ex. T (Dkt. 199,

sealed).

       9.       164 of the 191 ASTM standards at issue are available for free read-only access on

ASTM’s website; with respect to the remaining 27 ASTM standards at issue, ASTM is not aware

of any regulation that has incorporated those standards by reference and PRO has not identified

any. Declaration of Thomas O’Brien, previously filed at Dkt. 118-7, ¶ 60; Declaration of Jane

Wise, previously filed at Dkt. 198-5, ¶ 157, Ex. 156. Each of the 23 NFPA standards at issue in

this litigation is available for free read-only access on NFPA’s website. Supp. Pauley Decl. ¶¶ 40-

41. Each of the 3 ASHRAE standards at issue in this litigation is available for free read-only

access on ASHRAE’s website. Declaration of Stephanie Reiniche, previously filed at Dkt. 118-

10, ¶ 19.

       10.      In at least eleven instances, PRO’s Internet Archive postings continue to display

the ASTM Logo. Wise Decl. II ¶ 5, Ex. 177.



Dated: December 23, 2019                 Respectfully submitted,

                                         /s/ J. Kevin Fee

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